            Case 3:22-cr-00361-ADC Document 13 Filed 08/17/22 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,
          Plaintiff,

                 v.
                                                         CRIMINAL NO. 22-361-03 (ADC)
 CARLOS C. SANCHEZ-ORTIZ,
          Defendant.



      EX PARTE MOTION TO MODIFY CONDITIONS OF RELEASE

TO THE HONORABLE MARCOS E. LÓPEZ,
UNITED STATES MAGISTRATE JUDGE:

       COMES NOW defendant Carlos C. Sánchez-Ortíz and, through his

undersigned counsel, respectfully states and prays as follows:

       1.       At the Bail Hearing held on August 15, 2022, counsel for defendant

Carlos C. Sánchez-Ortíz requested that the Court allow him to travel in coordination

with the United States Probation Officer, to travel stateside for business. The Court

denied said request, indicating that defendant must file a motion requesting

permission to travel for each trip.1 See D.E. 10 (“The Court denied the request for the

defendant to travel.”)

       2.       On August 16, 2022 we accompanied defendant to the United States

       1
         The purpose of the stateside travel pertains to the business of the ILA union. Defendant is
an executive at the international as well as the local union and, as was explained to the Court,
meetings are held in various states where the union operates. These meetings are notified in advance.
           Case 3:22-cr-00361-ADC Document 13 Filed 08/17/22 Page 2 of 3




United States v. Carlos C. Sánchez-Ortíz
Criminal No. 22-361-03 (ADC)


Probation Office, the Clerk’s Office and the United States Marshals Service office as

directed by the Court.

      3.       The Order setting Conditions of Release (including Additional

Conditions of Release) indicates at item 7(f), in part, defendant “[...] shall not enter

any airport or pier, unless authorized by PT Officer.” Defendant’s employment

requires him from time to time to enter piers. While defendant’s office is not located

at the piers, he still must go there on a regular basis. He is the president of the

International Longshoremen’s Union, Local 1740. The Probation Officer indicated

that this was not mean t to prevent him from entering the piers when he had to as part

of his work.

      4.       The same Order states at item 7(t):

      “EXCEPTION: The Chief U.S. Probation Office, or his designee,
      may authorize temporary changes of address, and overseas travel
      to mainland U.S. only, not exceeding 15 days, provided U.S.
      Attorney has no objection to it. If objected, request will have to be
      made in writing to the Court.”


      5.       This is in obvious conflict with the Court’s initial directive. However,

it does seem a more manageable manner of dealing with business travel

authorizations.

                                           -2-
        Case 3:22-cr-00361-ADC Document 13 Filed 08/17/22 Page 3 of 3




United States v. Carlos C. Sánchez-Ortíz
Criminal No. 22-361-03 (ADC)


      WHEREFORE defendant Carlos C. Sánchez-Ortíz prays that the Honorable

Court modify his conditions of release to those reflected in the written conditions of

release issued to defendant by the United States Probation Office.

      I hereby certify that on this date I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF which will notify all counsel of record.

      RESPECTFULLY SUBMITTED.

      In San Juan, Puerto Rico, this 17th day of August, 2022.


                                            Counsel for Carlos C. Sánchez-Ortíz:

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                                           -3-
